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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                  4:11CR3087
                                         )
            v.                           )
                                         )
GUY E. ALLEN,                            )      MEMORANDUM AND ORDER
                                         )
                   Defendant.            )
                                         )


        Guy E. Allen (Allen) filed a Motion to Vacate under 28 U.S.C. § 2255. After
initial review1, I find and conclude the motion is frivolous and the allegations are
conclusory. I deny the motion and dismiss it with prejudice.

       Allen filed his motion on August 13, 2015. The motion was conclusory. Allen
said he needed more time to file a memorandum in support of his motion. I gave him
until December 30, 2015, to do so. He failed to do, but instead requested even more
time. I denied that request.

      I tried the case. A jury convicted Guy E. Allen and Christopher Mallett (who
were sometimes referred to as “Pickle” and “Beans,” respectively) each of conspiring

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       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United
States District Courts provides:

              The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the record
      of prior proceedings that the moving party is not entitled to relief, the
      judge must dismiss the motion and direct the clerk to notify the moving
      party. If the motion is not dismissed, the judge must order the United
      States attorney to file an answer, motion, or other response within a fixed
      time, or to take other action the judge may order.
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to distribute 280 grams or more of cocaine base (crack cocaine), in violation of 21
U.S.C. §§ 841(a)(1), (b)(1)(A), and 846. All of Allen’s grounds have to do with trial
counsel’s performance. Allen was represented by Greg Damman who is a highly
regarded criminal defense lawyer. Damman was appointed under the Criminal Justice
Act.

       The two-prong Strickland standard must be applied. Strickland v. Washington,
466 U.S. 668, 694 (1984) (announcing principles for evaluation of claims of
ineffective assistance of counsel under the Sixth Amendment). In order to prevail on
a claim that defense counsel rendered ineffective assistance of counsel under
Strickland such that relief is warranted, the claimant must establish two things. He or
she must establish (1) that “‘counsel’s representation fell below an objective standard
of reasonableness,’” and (2) that “‘there is a reasonable probability that, but for
counsel’s unprofessional errors, the result of the proceeding would have been
different.’” Nguyen v. United States, 114 F.3d 699, 703-04 (8th Cir. 1997) (quoting
Strickland, 466 U.S. at 688-89).

       Regarding the first prong, a judge’s “scrutiny of counsel’s performance must
be highly deferential,” and the judge must “indulge a strong presumption that
counsel’s conduct falls within the range of reasonable professional assistance.” Reed
v. United States, 106 F.3d 231, 236 (8th Cir. 1997). In other words, a judge should
make “every effort” to “eliminate the distorting effects of hindsight” by examining the
lawyer’s performance from “counsel’s perspective at the time” of the alleged error.
Strickland, 466 U.S. at 689.

      Regarding the second prong, a “reasonable probability” is less than “more likely
than not.” Kyles v. Whitley, 514 U.S. 419, 434 (1995) (citing Nix v. Whiteside, 475
U.S. 157, 175 (1986) (“[A] defendant need not establish that the attorney’s deficient
performance more likely than not altered the outcome in order to establish prejudice
under Strickland ”(emphasis added))). But, the showing must be compelling enough
to “undermine confidence in the outcome.” Strickland, 466 U.S. at 694.

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       An evidentiary hearing is unnecessary if the claimant makes an insufficient
preliminary showing on either or both prongs or the record clearly contradicts the
claimant’s showing on either or both prongs. Engelen v. United States, 68 F.3d 238,
240 (8th Cir. 1995) (affirming denial of § 2255 motion without a hearing in the face
of an ineffective-assistance-of-counsel claim; stating that no evidentiary hearing is
required where “(1) the petitioner’s allegations, accepted as true, would not entitle the
petitioner to relief, or (2) the allegations cannot be accepted as true because they are
contradicted by the record, inherently incredible, or conclusions rather than statements
of fact”).

       With the foregoing in mind, even if I assume the nonsensical proposition that
Mr. Damman’s performance was somehow insufficient, Allen cannot show that he
was prejudiced. As Chief Judge Riley observed when writing the unanimous opinion
of the Court Appeals affirming Allen’s conviction and sentence,

      At trial, ten witnesses, including police officers who had been operating
      undercover, testified about instances where Allen or Mallett sold crack
      cocaine, often by either delivering the drug to a certain address or by
      selling out of a customer’s house or apartment. Several witnesses
      testified Allen, Mallett, and Tyler often sold crack cocaine together,
      either in pairs or as a group, and often cooperated in making sales.
      ...

      Allen also argues ‘‘[t]he evidence as to drug quantity was so vague and
      uncertain that no reasonable jury could have relied upon it to conclude
      that a conspiracy involving 280 grams or more of crack cocaine had been
      proven beyond a reasonable doubt.’’ But Tyler testified to having sold
      ‘‘[a]t least’’ twenty ounces—about 567 grams—of crack cocaine
      between January and February of 2011. One witness saw Allen, Mallett,
      and Tyler together with $2,500 worth of crack cocaine between them.
      Another witness saw each of these three possessing approximately
      fourteen grams of crack cocaine on multiple occasions: Allen more than
      ten times, Mallett about ten times, and Tyler about five times. ‘‘Because
      a defendant in a conspiracy may be ‘held responsible for all reasonably

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      foreseeable drug quantities that were in the scope of the criminal activity
      that he jointly undertook,’ we conclude’’ the government presented
      sufficient evidence for a reasonable jury to determine the conspiracy
      involved at least 280 grams of crack cocaine.
      ....

      In this case, the evidence was relatively straightforward and strongly
      linked both Allen and Mallett [a codefendant] in an active drug
      conspiracy . . . .

United States v. Mallett, 751 F.3d 907, 910, 916, 917 (8th Cir. 2014) (citations and
footnotes omitted).

       One specific argument requires slightly more mention. Allen claims in ground
four that his lawyer did not object to Exhibits 18 and 19. Exhibit 18 was 7 grams of
crack cocaine found on Allen when he was booked in jail. (Filing no. 279 at CM/ECF
pp. 28-29.) Exhibit 19A-D were jail calls, or transcripts of the calls, that came from
the recording system at the jail, a recording system that warns the speakers that their
conversations can be monitored and recorded. (Filing no. 284 at CM/ECF pp. 12-14.)
In those calls, Allen inculpates himself in the sale of drugs. It is true that Mr.
Damman did not object to these exhibits (although as to exhibits 19A-D he insisted
that the prosecutor lay all the proper foundation).

        With regard to ground four, there was no basis to object to any of the exhibits.
Certainly, counsel was well advised not to heighten the potency of these exhibits
before the jury by having bogus objections overruled. Indeed, counsel did a good job
in closing argument of suggesting to the jury that this evidence showed only that Allen
was a small-timer and not a conspirator in the sale of large quantities of drugs. (Filing
no. 287 at CM/ECF pp 63-64.) But, more to the point, given the other overwhelming
evidence against Allen, even if by some magic Damman could have kept the exhibits
out, it would not have mattered.



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      IT IS ORDERED that judgment will be entered for the United States of
America and against Defendant Allen providing that he shall take nothing and the
Motion to Vacate under 28 U.S.C. § 2255 (filing no. 316) is denied with prejudice.
The undersigned does not issue a certificate of appealability.

      DATED this 7th day of January, 2016.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge




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